       Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 1 of 41




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

TODD A. CROSBY and                   )
STEVEN R. SAYLOR,                    )
                                     )     CIVIL ACTION
Plaintiffs,                          )
                                     )     FILE NO.: _____________________
v.                                   )
                                     )
STAN KOCH & SONS                     )
TRUCKING, INC.,                      )
JILL ANN NOLAND, CITY OF             )
DOUGLAS GEORGIA and CSX              )
TRANSPORTATION, INC.,                )
                                     )     Plaintiffs Demand a Jury Trial
Defendants.                          )

                                COMPLAINT

       Plaintiffs Todd A. Crosby (“Crosby”) and Steven R. Saylor (“Saylor”), by

and through counsel, do hereby bring this Complaint for damages against

Defendants Stan Koch & Sons Trucking, Inc. (hereinafter “SKST”), Jill Ann

Noland (hereinafter “Noland”), the City of Douglas, Georgia (hereinafter “City of

Douglas”) and CSX Transportation, Inc. (hereinafter “CSXT”) and allege the

following:

                          JURISDICTION AND VENUE

     1. Plaintiff Todd A. Crosby is a citizen and resident of Starke, Bradford

       County, Florida.
   Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 2 of 41




2. Plaintiff Steven R. Saylor is a citizen and resident of Shiloh, Harris County,

   Georgia.

3. Defendant SKST is a foreign corporation registered in Georgia, with its

   principal place of business at 4200 Dahlberg Drive, Suite 100, Golden

   Valley, Minnesota, 55422.

4. Defendant SKST can be served with process by serving its registered agent,

   The Shawkat Law Firm, PC at 5790 McIntyre Way, Cumming, GA 30040.

5. Defendant Jill Ann Noland is now, and was at the time of the incident which

   is the subject matter of this Complaint, a citizen and resident of Iowa and

   resides at 118 Wilkinson Avenue, Iowa Falls, Iowa, 50126.

6. Defendant Noland may be served with process at 118 Wilkinson Avenue,

   Iowa Falls, Iowa, 50126.

7. Defendant City of Douglas is a municipal corporation existing under the

   laws of the State of Georgia, and is subject to the jurisdiction and venue of

   this Court. Defendant City of Douglas can be served with process through

   Tony Paulk, Mayor at 302 South Madison Avenue, Douglas, Georgia 31534.

8. Pursuant to O.C.G.A. § 36-33-5, notices of the claims of Plaintiffs were

   served via statutory certified mail to the Mayor of the City of Douglas, the

   Honorable Tony Paulk, and the City Manager of the City of Douglas,

   Charles Davis on May 23, 2022.


                                      2
   Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 3 of 41




9. Plaintiffs have met all applicable requirements of O.C.G.A. § 36-33-5.

10. Defendant CSXT resides in the Northern District of Georgia. Defendant

   CSXT maintains a registered agent in Georgia and has railroad lines, tracks,

   engines, and boxcars that is maintains in the Northern District of Georgia.

11. Defendant CSXT can be served with process through its registered agent,

   C T Corporation System, located at 289 S. Culver Street, Lawrenceville,

   Georgia 30046.

12. Defendant CSXT is common carrier by railroad, incorporated in the State of

   Virginia, with its principal place of business in the State of Florida.

13. Defendant CSXT is engaged in interstate commerce and operates a freight

   railroad throughout many counties in Georgia, carries on significant

   operations in Georgia, and specifically owns and operates multiple rail yards

   in the Northern District of Georgia.

14. Defendant CSXT does business and was at all times mentioned herein doing

   business within the jurisdiction of this Court as a common carrier by railroad

   of intrastate and interstate commerce, engaged in interstate transportation for

   hire and commerce.

15. Defendant CSXT maintains a registered agent, rail lines, offices, rail yards,

   railroad track, railcars, and locomotives within the jurisdiction of this Court

   as a common carrier by rail of intrastate and interstate commerce.


                                       3
   Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 4 of 41




16. Plaintiff Crosby is, and was at all times relevant to this Complaint, an

   employee of Defendant CSXT.

17. Plaintiff Saylor is, and was at all times relevant to this Complaint, an

   employee of Defendant CSXT.

18. Jurisdiction in this Court is proper with respect to Defendants Stan Koch &

   Sons Trucking, Inc. and Noland by virtue of 28 U.S.C. §§ 1332 and 1367, as

   well as O.C.G.A. § 9-10-91.

19. Jurisdiction and venue in this Court is proper with respect to the City of

   Douglas.

20. Jurisdiction in this Court is proper with respect to Defendant CSXT by

   virtue of 45 U.S.C. § 56.

21. Venue in the Court is proper with respect to Defendants SKST and Noland

   pursuant to 28 U.S.C. § 1391.

22. Venue in the Court is proper with respect to Defendant CSXT pursuant to

   28 U.S.C. § 1391.

23. This is an action for damages in excess of Seventy-Five Thousand Dollars

   ($75,000.00) exclusive of interest and costs for each and every Defendant

   listed herein.

24. Plaintiffs’ action(s) arise, in part, under the Federal Employers Liability Act

   (“FELA”), 45 U.S.C. § 51, et seq., and the statutes and regulations


                                       4
   Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 5 of 41




   promulgated and enforced by the Secretary of Transportation and the

   Federal Railroad Administration. Plaintiffs avail themselves of the rights,

   benefits, and immunities afforded them under the FELA, including the right

   to maintain this action in this Court.

25. At the time of Plaintiffs’ injuries on February 7, 2022, Plaintiffs, as

   employees, and Defendant CSXT, as employer, were mutually engaged in

   acts and services in the furtherance of interstate commerce and were

   engaged in work which directly, closely, and substantially affected the

   general interstate commerce carried on by Defendant CSXT.

                                   FACTS

26. This action was filed within the applicable three-year statue of limitations

   against CSXT governing lawsuits pursuant to the FELA.

27. This action was filed within the applicable two-year statute of limitations

   period governing personal injury tort lawsuits under Georgia law as to

   Defendants SKST, Noland, and City of Douglas.

28. Defendant CSXT is an employer subject to the FELA.

29. At all times relevant to this civil action, Defendant CSXT had a non-

   delegable duty to provide Plaintiffs with a reasonably safe place to work.

30. At all times material hereto, the CSXT freight train operated by Plaintiffs

   was under the exclusive control and possession of Defendant CSXT.


                                       5
   Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 6 of 41




31. On February 7, 2022, at approximately 12:55 p.m. (ET), Plaintiffs were

   traveling eastbound from Manchester, Georgia to Jacksonville, Florida while

   working as a freight conductor and locomotive engineer for CSX

   Transportation, Inc. on a freight train at the subject railroad grade crossing at

   the intersection of South McDonald Avenue and East Railroad Street in

   Douglas, Coffee County, Georgia.

32. On February 7, 2022, and at all times relevant hereto, Defendant Noland,

   was an employee of Defendant SKST.

33. On February 7, 2022, Defendant SKST owned the semi-truck and trailer that

   were operated by Defendant Noland and involved in the subject collision

   with the CSXT freight train operated by Plaintiffs.

34. Defendant Noland was acting within the scope and course of her

   employment with Defendant SKST at the time of the subject crossing

   collision, and at all other times material to this action.

35. On February 7, 2022, Defendant Noland disobeyed traffic control devices

   and approached the railroad crossing at the intersection of South McDonald

   Avenue and East Railroad Street in Douglas, Coffee County, Georgia.

36. On February 7, 2022, while acting within the scope and course of her

   employment with Defendant SKST, Defendant Noland caused the Defendant

   SKST-owned semi-tractor and trailer she was operating to become stuck


                                        6
   Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 7 of 41




   upon the highway crossing at grade that is located at the intersection of

   South McDonald Avenue and East Railroad Street in the City of Douglas,

   Georgia, directly in the path of the oncoming CSXT freight train operated by

   Plaintiffs.

37. Plaintiffs Crosby and Saylor, while operating the CSXT freight train in a

   safe and reasonable manner, were unable to stop the freight train before it

   violently struck the semi-tractor and trailer that Defendant Noland had

   caused to become stuck on the railroad crossing at grade. The subject impact

   caused the trailer to be torn away from the semi-tractor and become wedged

   under the lead locomotive of the CSXT freight train operated by Plaintiffs.

38. When the trailer became wedged under the locomotive of the CSXT freight

   train, it caused the lead locomotive to derail and to slide along the railroad

   track for approximately 800 feet before turning over on its side and violently

   plowing into the ground. The lead locomotive of the CSXT freight train,

   which was carrying both Plaintiffs, traveled approximately 400 feet on its

   side before coming to rest.

39. As evidenced by multiple videos, several railcars in the CSXT freight train

   consist were also caused to derail as a result of the subject collision,

   including, but not limited to, hazardous materials, chemicals, and

   substances.


                                      7
   Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 8 of 41




40. As a direct result of the subject incident, Plaintiff Crosby suffered severe and

   extreme trauma, including, but not limited to, injury to his head, neck, back,

   torso, shoulder, chest, hip, neurological impairment(s), knees, and whole

   body.

41. As a direct result of the subject incident, Plaintiff Saylor suffered severe and

   extreme trauma, including, but not limited to, injury to his head, neck, back,

   torso, neurological impairment(s), hip, and whole body.

42. Plaintiff Crosby continues to suffer severe chronic pain to his head, neck,

   back, torso, shoulder, chest, hip, knees, neurological impairment(s), and

   whole body.

43. Plaintiff Saylor continues to suffer severe chronic pain to head, neck, back,

   torso, hip, neurological impairment(s), and whole body.

44. Plaintiff Crosby continues to suffer psychological trauma, severe chronic

   pain, nightmares, sleep disturbances, and severe anxiety due to the injuries

   sustained as a result of the accident.

45. Plaintiff Saylor continues to suffer psychological trauma, severe chronic

   pain, nightmares, sleep disturbances, and severe anxiety due to the injuries

   sustained as a result of the accident.




                                       8
   Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 9 of 41




46. At the time of the filing of this Complaint for damages, Plaintiff Crosby

   remains an employee of Defendant CSXT. Plaintiff Crosby was never

   charged with a violation of a CSXT operating or safety rule.

47. At the time of the filing of this Complaint for damages, Plaintiff Saylor

   remains an employee of Defendant CSXT. Plaintiff Saylor was never

   charged with a violation of a CSXT operating or safety rule.

48. As a direct result of the subject incident, Plaintiff Crosby has been caused to

   lose income and fringe benefits, which he otherwise would have earned.

   With reasonable certainty, he will also be caused to suffer lost earning

   capacity in the future. His ability to work and earn income and fringe

   benefits has been permanently impaired.

49. As to Defendants SKST, Noland, and City of Douglas, as a direct result of

   the subject incident, Plaintiff Crosby has been caused to incur medical bills

   and expenses.

50. As a direct result of the subject incident, Plaintiff Saylor has been caused to

   lose income and fringe benefits, which he otherwise would have earned.

   With reasonable certainty, he will also be caused to suffer lost earning

   capacity in the future. His ability to work and earn income and fringe

   benefits has been permanently impaired.




                                       9
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 10 of 41




51. As to Defendants SKST, Noland, and City of Douglas, as a direct result of

   the subject incident, Plaintiff Saylor has been caused to incur medical bills

   and expenses.

52. The subject highway rail grade crossing is located in the City of Douglas,

   Coffee County, Georgia and is, and was at all times relevant hereto,

   maintained by Defendants CSXT, upon inspection and notice from any

   government entity and/or road authority, and City of Douglas.

53. The subject highway rail grade crossing is located in the City of Douglas,

   Coffee County, Georgia and is, and was at all times relevant hereto, subject

   to inspection and notification by Defendants City of Douglas and CSXT.

54. The subject highway rail grade crossing maintenance was subject to a joint

   duty between Defendant CSXT and Defendant City of Douglas.

55. The subject highway rail grade crossing received federal funds for the

   implementation, design, and construction for the installation of passive and

   active warning systems.

56. The subject highway rail grade crossing has been subject to more than one

   complaint from the general public about its construction, lack of signage and

   failure to install adequate warnings and signals.

57. Defendant Noland was transporting freight in accordance with the scope of

   her employment. The freight Defendant Noland was transporting was


                                      10
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 11 of 41




   Alumacraft aluminum boats, which she was attempting to deliver to

   Southeastern Marine, 1506 East Ward Street, Douglas, Georgia.

58. The subject highway rail grade crossing was fouled by Defendant Noland,

   the driver/employee of Defendant SKST, as she caused the Defendant

   SKST-owned tractor-trailer she was operating to become stuck on the

   crossing.

59. After Defendant Noland caused the Defendant SKST-owned tractor-trailer

   to become stuck on the subject crossing, she initially began to attempt to free

   the tractor-trailer. Upon several failed attempts, when it became apparent to

   Defendant Noland that her tractor-trailer was incapable of movement, and

   upon her learning of an oncoming CSXT freight train, only then did she

   attempt to contact authorities to inform them she caused the tractor-trailer to

   become stuck on the subject crossing.

60. Defendant Noland did not make contact with the CSXT train crew, Plaintiffs

   Crosby and Saylor, prior to the collision. At no time prior to the collision did

   Defendant Noland present any flares and/or warning placards, including but

   not limited to, hazardous warning device(s), at the subject crossing.

61. Defendants SKST and Noland are not in possession of any evidence that

   Plaintiffs improperly handled the CSXT freight train.




                                      11
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 12 of 41




62. Defendants SKST’s tractor-trailer was equipped with GPS monitoring,

   dashcam, blackbox, and other alert monitoring systems that would include

   details about hard stops, collisions and/or accidents.

63. Defendant SKST’s tractor-trailer had proper, working navigational system(s)

   at the time of the subject incident.

64. Defendant SKST’s trailer had properly stowed landing gear at the time

   Defendant Noland caused the subject tractor-trailer to become stuck at the

   subject crossing.

65. Defendant Noland does not contend that there was another vehicle that

   caused or created her to become stuck on the subject crossing.

66. Defendant Noland, while in the course and scope of her employment with

   Defendant SKST, took an improper route to her delivery destination.

67. Defendant CSXT has reached a settlement as it relates to property damage,

   track repairs, and cleanup costs with Defendant SKST.

68. Defendant CSXT has reached a settlement as it relates to property damage,

   track repairs, and cleanup costs with Defendant Noland.

69. Defendant CSXT received payment and satisfaction for a release with

   Defendant SKST with regard to the settlement that relates to property

   damage, track repairs, and cleanup costs.




                                          12
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 13 of 41




70. Defendant CSXT received payment and satisfaction for a release with

   Defendant Noland regard to the settlement that relates to property damage,

   track repairs, and cleanup costs.

71. Defendant SKST has settled with Defendant CSXT.

72. Defendant Noland has settled with Defendant CSXT.

73. To date, a Defendant CSXT vocational rehabilitation counselor has not

   contacted Plaintiff Saylor.

74. To date, a Defendant CSXT vocational rehabilitation counselor has not

   contacted Plaintiff Crosby.

                           COUNT ONE
           VICARIOUS LIABILITY OF STAN KOCH & SONS
         TRUCKING, INC. AS TO PLAINTIFF TODD A. CROSBY

75. Plaintiffs re-allege and incorporate by reference the allegations contained

   above as though fully set forth herein.

76. Defendant SKST is liable for the negligent acts of its employee and agent,

   Defendant Noland, who at all times relevant to this Complaint was acting

   within the scope and course of her employment with Defendant SKST.

77. Defendant SKST is liable to Plaintiff Crosby pursuant to the doctrine of

   respondeat superior and agency principles.

78. As a direct and proximate result of Defendant SKST’s negligence, Plaintiff

   Crosby suffered severe, debilitating and permanent injuries.


                                       13
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 14 of 41




79. As a direct and proximate result of Defendant SKST’s negligence, Plaintiff

   Crosby suffered, and continues to suffer, severe physical injury and pain,

   psychological injury and mental anguish.

80. As a direct and proximate result of Defendant SKST’s negligence, Plaintiff

   Crosby incurred medical expenses, and will continue to incur future medical

   expenses due to the nature and extent of his injuries.

81. As a direct and proximate result of Defendant SKST’s negligence, Plaintiff

   Crosby has suffered lost wages and benefits, and will continue to suffer

   future losses.

82. It was foreseeable that the negligence of Defendant SKST, its agent and/or

   employee, would cause a collision resulting in Plaintiff Crosby’s damages

   and injuries.

                        COUNT TWO
       NEGLIGENCE OF DEFENDANT JILL ANN NOLAND AS TO
                 PLAINTIFF TODD A. CROSBY

83. Plaintiffs re-allege and incorporate by reference the allegations contained

   above as though fully set forth herein.

84. Defendant Noland breached the duty of care owed to Plaintiff Crosby and

    others as a professional driver and directly or proximately caused injuries

    to Plaintiff Crosby, including, but not limited to, one or more of the

    following acts of negligence and/or negligence per se:


                                      14
Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 15 of 41




        (a) On February 7, 2022, Defendant Noland, while acting within the

           course and scope of her employment with Defendant SKST, and

           while operating a semi-tractor and trailer owned by Defendant

           SKST, failed to maintain a sufficient lookout for approaching

           trains at the railroad crossing at the intersection of South

           McDonald Avenue and East Railroad Street that she was

           attempting to cross in Douglas, Coffee County, Georgia;

        (b) On February 7, 2022, Defendant Noland, while acting within the

           course and scope of her employment with Defendant SKST, and

           while operating a semi-tractor and trailer owned by Defendant

           SKST, failed to exercise ordinary care in avoiding a collision;

        (c) On February 7, 2022, Defendant Noland, while acting within the

           course and scope of her employment with Defendant SKST, and

           while operating a semi-tractor and trailer owned by Defendant

           SKST, failed to timely notify CSXT and/or law enforcement that

           her semi-tractor and trailer were stuck on the subject railroad

           crossing at the intersection of South McDonald Avenue and East

           Railroad Street in Douglas, Coffee County, Georgia;

        (d) On February 7, 2022, Defendant Noland, while acting within the

           course and scope of her employment with Defendant SKST, and


                                 15
Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 16 of 41




           while operating a semi-tractor and trailer owned by Defendant

           SKST, drove the semi-tractor and trailer over a railroad grade

           crossing   with      a   train   approaching   in   violation   of

           O.C.G.A. § 40-6-140(d), with such violation constituting

           negligence per se;

        (e) On February 7, 2022, Defendant Noland, while acting within the

           course and scope of her employment with Defendant SKST, and

           while operating a semi-tractor and trailer owned by Defendant

           SKST, drove a vehicle over a railroad grade crossing with

           insufficient undercarriage clearance for the vehicle she was

           operating in violation of O.C.G.A. § 40-6-140(f), with such

           violation constituting negligence per se;

        (f) On February 7, 2022, Defendant Noland, while acting within the

           course and scope of her employment with Defendant SKST, and

           operating a semi-tractor and trailer owned by Defendant SKST,

           failed to comply with official traffic control devices in violation

           of O.C.G.A. § 40-6-20, with such violation constituting

           negligence per se; and

        (g) On February 7, 2022, Defendant Noland, while acting within the

           course and scope of her employment with Defendant SKST, and


                                    16
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 17 of 41




               while operating a semi-tractor and trailer owned by Defendant

               SKST, drove with reckless disregard for the safety of persons or

               property in violation of O.C.G.A. § 40-6-390, with such

               violation constituting negligence per se.

85. As a direct and proximate result of Defendant Noland’s negligence as

    described above, Plaintiff Crosby suffered, and continues to suffer,

    physical injury and pain, psychological injury and mental anguish.

86. As a direct and proximate result of Defendant Noland’s negligence, as

    described above, Plaintiff Crosby incurred medical expenses, and will

    continue to incur future medical expenses due to the nature and extent of

    his injuries.

87. As a direct and proximate result of Defendant Noland’s negligence, as

    described above, Plaintiff Crosby has suffered lost wages and benefits and

    will suffer future losses.

88. It was foreseeable that the negligence of Defendant Noland would cause a

    collision resulting in Plaintiff Crosby’s damages and injuries.

                    COUNT THREE
PUNITIVE DAMAGES AS TO JILL ANN NOLAND AS TO PLAINTIFF
                    TODD CROSBY

89. Plaintiffs re-allege and incorporate by reference the allegations above as

    though fully set forth herein.


                                     17
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 18 of 41




90. On February 7, 2022, Defendant Noland was a professional truck driver

    operating a tractor-trailer pursuant to a commercial driver’s license and

    owed a duty of care to Plaintiff Crosby to use the degree of care, skill and

    judgment which a reasonable professional driver would exercise in the

    same or similar circumstances.

91. On February 7, 2022, Defendant Noland failed to reasonably warn and/or

    attempt to warn Plaintiff Crosby, public safety officials, the railroad, or

    other motorists/individuals in the immediate area of the subject highway

    crossing at grade of the extremely hazardous condition she created by

    stopping the semi-tractor and trailer she was operating on a highway

    crossing at grade in the path of an approaching train in a conscious

    disregard and indifference for Plaintiff Crosby and others.

92. On February 7, 2022, the actions of Defendant Noland further endangered

    Plaintiff Crosby, other motorists/individuals, property, and the surrounding

    community by causing a derailment of the locomotives and several railcars

    that were part of the CSXT freight train operated by Plaintiffs after the

    subject collision.

93. The direct and proximate cause of Plaintiff Crosby’s injuries and damages

    was the gross negligence of Defendant Noland.




                                     18
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 19 of 41




94. Defendant Noland, while operating a commercial vehicle as a professional

    driver, acted in a wanton and reckless manner with a conscious disregard

    and indifference for the safety of Plaintiff Crosby and others.

95. In addition to compensatory damages, pursuant to O.C.G.A. § 51-12-5.1,

    Plaintiff Crosby is entitled to an award of punitive damages or exemplary

    damages in an amount to be determined by the enlightened conscience of

    the jury to deter Defendant Noland from engaging in future misconduct of

    the same or similar nature.

                     COUNT FOUR
PUNITIVE DAMAGES AS TO STAN KOCH & SONS TRUCKING, INC.
            AS TO PLAINTIFF TODD A. CROSBY

96. Plaintiffs re-allege and incorporate by reference the allegations above as

    though fully set forth herein.

97. Defendant SKST’s conduct herein was grossly negligent, reckless and

    consciously disregarding and/or indifferent to the safety and rights of the

    public and Plaintiff Crosby.

98. Defendant SKST was reckless, acting in conscious disregard and/or

    conscious indifference to the safety and rights of Plaintiff Crosby in at the

    following particulars:

          a) Defendant SKST continued to employ and entrust Defendant

              Noland to operate a tractor-trailer despite having actual and/or


                                     19
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 20 of 41




             reasonable notice that Defendant Noland was unfit for the job by

             way of Defendant Noland’s poor performance and poor

             professional driving record;

          b) Defendant SKST failed to properly supervise and/or train

             Defendant Noland on the proper operation of SKST’s tractor-

             trailer; and

          c) Defendant SKST failed to properly supervise Defendant Noland

             and failed to identify dangerous and negligent driving behaviors

             that could have been corrected in time to avoid the crash at issue.

99. The direct and proximate cause of Plaintiff Crosby’s injuries and damages

    was the gross negligence of Defendant SKST, who acted in a wanton and

    reckless manner, with a conscious disregard and indifference for the safety

    of Plaintiff Crosby and others.

100. In addition to compensatory damages, pursuant to O.C.G.A. § 51-12-5.1,

    Plaintiff Crosby is entitled to an award of punitive damages or exemplary

    damages in an amount to be determined by the enlightened conscience of

    the jury to deter Defendant SKST from engaging in future misconduct of

    the same or similar nature.




                                      20
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 21 of 41




                      COUNT FIVE
    NEGLIGENCE OF THE CITY OF DOUGLAS, GEORGIA AS TO
               PLAINTIFF TODD A. CROSBY

101. Plaintiffs re-allege and incorporate by reference the allegations above as

    though fully set forth herein.

102. The City of Douglas, Georgia has a duty to the motoring public to provide

    safe and reasonable passage over public roads.

103. The City of Douglas, Georgia has a duty to CSXT train crews operating

    via rail, and through, the subject grade railroad crossing.

104. Defendant City of Douglas breached the duty of care owed to Plaintiff

    Crosby and others and directly or proximately caused injuries to Plaintiff

    Crosby, including, but not limited to, one or more of the following acts of

    negligence:

             a) Failure to ensure proper signage and adequate passive and/or

                active warning system(s) at and around the subject railroad

                crossing;

             b) Failure to eliminate the high vertical profile and/or grade of the

                subject railroad crossing; and

             c) Failure to provide adequate ground clearance.

105. The negligence of the City of Douglas, Georgia is in violation of its duty to

    provide the motoring public and train crews with safe and reasonable


                                      21
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 22 of 41




    passage over public roads, including the subject grade railroad crossing

    and surrounding roadway.

106. Defendant City of Douglas knew or should have known of the dangerous

    and/or hazardous conditions of the subject grade railroad crossing and

    surrounding roadway, and the hazard it presented to the motoring public

    and train crews traveling across the subject grade railroad crossing.

107. Prior to February 7, 2022, Defendant City of Douglas did not act

    reasonably in inspecting and/or maintaining the grade railroad crossing and

    surrounding roadway so as to prevent or correct the dangerous and/or

    hazardous condition.

108. As a direct and proximate result of Defendant City of Douglas’ negligence

    as described above, Plaintiff Crosby suffered, and continues to suffer,

    physical injury and pain, psychological injury and mental anguish.

109. As a direct and proximate result of Defendant City of Douglas’ negligence,

    as described above, Plaintiff Crosby incurred medical expenses, and will

    continue to incur future medical expenses, due to the nature and extent of

    his injuries.

110. As a direct and proximate result of Defendant City of Douglas’ negligence,

    as described above, Plaintiff Crosby has suffered lost wages and benefits

    and will suffer future losses.


                                     22
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 23 of 41




111. It was foreseeable that the negligence of Defendant City of Douglas would

    cause a collision resulting in Plaintiff Crosby’s damages and injuries.

112. At all times pertinent hereto, Defendant City of Douglas had knowledge of

    the unsafe and/or hazardous condition of the subject grade railroad

    crossing and surrounding roadway.

                      COUNT SIX
NEGLIGENCE AND THE FEDERAL EMPLOYERS’ LIABILITY ACT
(FELA) AS TO DEFENDANT CSX TRANSPORTATION, INC. AS TO
               PLAINTIFF TODD A. CROSBY

113. Plaintiffs re-allege and incorporate by reference the allegations above as

    though fully set forth herein.

114. Defendant CSXT has a non-delegable duty to provide Plaintiff Crosby

    with a reasonably safe place to work.

115. Assumption of the risk is not a defense available to Defendant CSXT

    under a claim made by Plaintiff Crosby pursuant to the FELA.

116. The negligence of Defendant CSXT is in violation of its duty to provide

    Plaintiff Crosby with a reasonably safe place to work under the FELA, and

    its duty to maintain grade crossing in such condition as to permit the safe

    and reasonable passage of public traffic.

117. Plaintiff alleges that the acts of negligence of Defendant CSXT, which

    caused in whole, or in part, injury to Plaintiff include, but are not limited

    to, the following:

                                     23
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 24 of 41




           (a) Defendant CSXT, its agents and/or employees, were negligent

           in failing to ensure the track structure of the railroad crossing

           involved in the subject incident was properly maintained and

           compliant with all applicable federal and state regulations; and

           (b) Defendant CSXT, its agents and/or employees, were negligent

           in failing to ensure adequate warning(s) and/or safeguard(s) were in

           place at the dangerous or ultrahazardous public crossing involved in

           the subject incident.

118. Defendant CSXT failed to properly coordinate, respond, and notify the

    CSXT train crew, Plaintiffs, in a timely manner of the known hazard, that

    being the tractor-trailer stuck on the subject crossing. The delay was

    unreasonable and inadequate.

119. Plaintiff Crosby’s injuries were caused by the negligence of Defendant

    CSXT, and/or its agents, servants, or employees acting in the course and

    scope of their employment with Defendant CSXT, or by a known defect or

    insufficiency of the workplace.

120. Plaintiff Crosby’s injuries and damages were caused, in whole, or in part,

    by Defendant CSXT’s failure to use reasonable care to provide Plaintiff

    Crosby with a reasonably safe place to work.




                                      24
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 25 of 41




121. Defendant CSXT knew or should have known, of the unsafe condition(s),

    inadequate practice(s) and improper operations as indicated in this Count

    that caused, or contributed to cause, either in whole, or in part, Plaintiff

    Crosby’s injuries and damages.

122. Defendant CSXT failed to comply with the provisions and requirements of

    the FELA, 45 U.S.C. § 51, et seq. Defendant CSXT also failed to comply

    with its own rules and regulations.

123. Defendant CSXT’s violation of the FELA was a legal cause of Plaintiff

    Crosby’s injuries and damages.

124. As a direct and proximate result of Defendant CSXT’s negligence, Plaintiff

    Crosby suffered severe, debilitating and permanent injuries.

125. As a direct and proximate result of Defendant CSXT’s negligence, Plaintiff

    Crosby suffered, and continues to suffer, physical injury and pain,

    psychological injury and mental anguish.

126. As a direct and proximate result of Defendant CSXT’s negligence, Plaintiff

    Crosby incurred medical expenses, and will continue to incur future

    medical expenses, due to the nature and extent of their injuries.

127. As a direct and proximate result of Defendant CSXT’s negligence, Plaintiff

    Crosby has suffered lost wages and benefits, and will continue to suffer

    future losses.


                                     25
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 26 of 41




128. It is reasonably foreseeable that the negligence and/or statutory violations

    of Defendant CSXT as outlined in this Count would cause Plaintiff

    Crosby’s injuries and damages.

                         COUNT SEVEN
           VICARIOUS LIABILITY OF STAN KOCH & SONS
         TRUCKING, INC. AS TO PLAINTIFF STEVEN SAYLOR

129. Plaintiffs re-allege and incorporate by reference the allegations above

     as though fully set forth herein.

130. Defendant SKST is liable for the negligent acts of its employee and agent

     Defendant Noland who, at all times relevant to this Complaint, was acting

     within the scope and course of her employment with Defendant SKST.

131. Defendant SKST is liable to Plaintiff Saylor pursuant to the doctrine of

     respondeat superior and agency principles.

132. It was foreseeable that Defendant SKST’s negligence would cause

     Plaintiff Saylor’s injuries.

133. As a direct and proximate result of Defendant SKST’s negligence,

     Plaintiff Saylor suffered severe, debilitating, and permanent injuries.

134. As a direct and proximate result of Defendant SKST’s negligence,

     Plaintiff Saylor suffered, and continues to suffer, severe physical injury

     and pain, psychological injury and mental anguish.




                                      26
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 27 of 41




135. As a direct and proximate result of Defendant SKST’s negligence,

     Plaintiff Saylor incurred medical expenses, and will continue to incur

     future medical expenses due to the nature and extent of his injuries.

136. As a direct and proximate result of Defendant SKST’s negligence,

     Plaintiff Saylor has suffered lost wages and benefits, and will continue to

     suffer future losses.

137. It was foreseeable that the negligence of Defendant SKST, its agent and/or

     employee, would cause an accident resulting in Plaintiff Saylor’s damages

     and injuries.

                       COUNT EIGHT
       NEGLIGENCE OF DEFENDANT JILL ANN NOLAND AS TO
                 PLAINTIFF STEVEN SAYLOR

138. Plaintiffs re-allege and incorporate by reference the allegations above as

    though fully set forth herein.

139. Defendant Noland breached the duty of care owed to Plaintiff Saylor and

    others as a professional driver, and directly or proximately caused injuries

    to Plaintiff Saylor, including, but not limited to, one or more of the

    following acts of negligence or negligence per se:

         (a)   On February 7, 2022, Defendant Noland, while acting within the

               course and scope of her employment with Defendant SKST, and

               operating a semi-tractor and trailer owned by Defendant SKST,


                                     27
Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 28 of 41




            failed to maintain a sufficient lookout for approaching trains on

            the railroad track she was attempting to cross in Douglas, Coffee

            County, Georgia at the railroad crossing at the intersection of

            South McDonald Avenue and East Railroad Street;

      (b)   On February 7, 2022, Defendant Noland, while acting within the

            course and scope of her employment with Defendant SKST, and

            operating a semi-tractor and trailer owned by Defendant SKST,

            failed to exercise ordinary care in avoiding a collision;

      (c)   On February 7, 2022, Defendant Noland, while acting within the

            course and scope of her employment with Defendant SKST, and

            operating a semi-tractor and trailer owned by Defendant SKST,

            failed to timely notify CSXT or law enforcement that her semi-

            tractor and trailer were stuck on the railroad crossing at the

            intersection of South McDonald Avenue and East Railroad

            Street in Douglas, Coffee County, Georgia;

      (d)   On February 7, 2022, Defendant Noland, while acting within the

            course and scope of her employment with Defendant SKST, and

            operating a semi-tractor and trailer owned by Defendant SKST,

            drove the semi-tractor and trailer over a railroad grade crossing




                                   28
Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 29 of 41




            with a train approaching in violation of O.C.G.A. § 40-6-140(d),

            with such violation constituting negligence per se;

      (e)   On February 7, 2022, Defendant Noland, while acting within the

            course and scope of her employment with Defendant SKST, and

            operating a semi-tractor and trailer owned by Defendant SKST,

            drove a vehicle over a railroad grade crossing with insufficient

            undercarriage clearance for the vehicle he was operating in

            violation of O.C.G.A. § 40-6-140(f), with such violation

            constituting negligence per se;

      (f)   On February 7, 2022, Defendant Noland, while acting within the

            course and scope of her employment with Defendant SKST, and

            operating a semi-tractor and trailer owned by Defendant SKST,

            failed to comply with official traffic control devices in violation

            of O.C.G.A. § 40-6-20, with such violation constituting

            negligence per se; and

      (g)   On February 7, 2022, Defendant Noland, while acting within the

            course and scope of her employment with Defendant SKST, and

            operating a semi-tractor and trailer owned by Defendant SKST,

            drove with reckless disregard for the safety of persons or




                                  29
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 30 of 41




               property in violation of O.C.G.A. § 40-6-390, with such

               violation constituting negligence per se.

140. As a direct and proximate result of Defendant Noland’s negligence, as

    described above, Plaintiff Saylor suffered physical injury and pain,

    psychological injury and mental anguish.

141. As a direct and proximate result of Defendant Noland’s negligence, as

    described above, Plaintiff Saylor suffered, and continues to suffer, severe

    physical pain and mental anguish.

142. As a direct and proximate result of Defendant Noland’s negligence, as

    described above, Plaintiff Saylor incurred medical expenses, and will

    continue to incur future medical expenses due to the nature and extent of

    his injuries.

143. As a direct and proximate result of Defendant Noland’s negligence, as

    described above, Plaintiff Saylor has suffered lost wages and benefits, and

    will suffer future losses.

144. It was foreseeable that the negligence of Defendant Noland would cause a

    collision resulting in Plaintiff Saylor’s damages and injuries.



                          [continued on next page]




                                      30
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 31 of 41




                     COUNT NINE
PUNITIVE DAMAGES AS TO JILL ANN NOLAND AS TO PLAINTIFF
                   STEVEN SAYLOR

145. Plaintiffs re-allege and incorporate by reference the allegations above as

    though fully set forth herein.

146. On February 7, 2022, Defendant Noland was a professional truck driver

    operating a tractor-trailer pursuant to a commercial driver’s license and

    owed a duty of care to Plaintiffs to use the degree of care, skill and

    judgment which a reasonable professional driver would exercise in the

    same or similar circumstances.

147. On February 7, 2022, Defendant Noland failed to reasonably warn and/or

    attempt to warn Plaintiff Saylor, public safety officials, the railroad, or

    other motorists/individuals in the immediate area of the subject highway

    crossing at grade of the extremely hazardous condition she created by

    stopping the semi-tractor and trailer she was operating on a highway

    crossing at grade in the path of an approaching train in a conscious

    disregard and indifference for Plaintiff Saylor and others.

148. On February 7, 2022, the actions of Defendant Noland further endangered

    Plaintiffs, other motorists/individuals, property, and the surrounding

    community by causing a derailment of the locomotives and several railcars




                                     31
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 32 of 41




    that were part of the CSXT freight train operated by Plaintiffs after the

    subject collision.

149. The direct and proximate cause of Plaintiff Saylor’s injuries and damages

    was the gross negligence of Defendant Noland. Defendant Noland, while

    operating a commercial vehicle as a professional driver, acted in a wanton

    and reckless manner, with a conscious disregard and indifference for the

    safety of Plaintiff Saylor and others.

150. In addition to compensatory damages, pursuant to O.C.G.A. § 51-12-5.1,

    Plaintiff Saylor is entitled to an award of punitive damages or exemplary

    damages in an amount to be determined by the enlightened conscience of

    the jury to deter Defendant Noland from engaging in future misconduct of

    the same or similar nature.

                      COUNT TEN
PUNITIVE DAMAGES AS TO STAN KOCH & SONS TRUCKING, INC.
            AS TO PLAINTIFF STEVEN SAYLOR

151. Plaintiffs re-allege and incorporate by reference the allegations above as

     though fully set forth herein.

152. Defendant SKST’s conduct herein was grossly negligent, reckless and

     consciously disregarding and/or indifferent to the safety and rights of the

     public and Plaintiff Saylor.




                                      32
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 33 of 41




153. Defendant SKST was reckless, acting in conscious disregard and/or

     conscious indifference to the safety and rights of Plaintiff Saylor in at the

     following particulars:

         (a) Defendant SKST continued to employ and entrust Defendant

         Noland to operate a tractor-trailer despite having actual and/or

         reasonable notice that Defendant Noland was unfit for the job by way

         of Defendant Noland’s poor performance and poor professional

         driving record;

         (b) Defendant SKST failed to properly supervise and/or train

         Defendant Noland on the proper operation of SKST’s tractor-trailer;

         and

         (c) Defendant SKST failed to properly supervise Defendant Noland

         and failed to identify dangerous and negligent driving behaviors that

         could have been corrected in time to avoid the crash at issue.

154. The direct and proximate cause of Plaintiff Saylor’s injuries and damages

    was the gross negligence of Defendant SKST, who acted in a wanton and

    reckless manner, with a conscious disregard and indifference for the safety

    of Plaintiff Saylor and others.

155. In addition to compensatory damages, pursuant to O.C.G.A. § 51-12-5.1,

    Plaintiff Saylor is entitled to an award of punitive damages or exemplary


                                      33
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 34 of 41




    damages in an amount to be determined by the enlightened conscience of

    the jury to deter Defendant SKST from engaging in future misconduct of

    the same or similar nature.

                    COUNT ELEVEN
   NEGLIGENCE OF THE CITY OF DOUGLAS, GEORGIA AS TO
             PLAINTIFF STEVEN R. SAYLOR

156. Plaintiffs re-allege and incorporate by reference the allegations above as

    though fully set forth herein.

157. The City of Douglas, Georgia has a duty to the motoring public to provide

    safe and reasonable passage over public roads.

158. The City of Douglas, Georgia has a duty to CSXT train crews operating

    via rail, and through, the subject grade railroad crossing.

159. Defendant City of Douglas breached the duty of care owed to Plaintiff

    Saylor and others and directly or proximately caused injuries to Plaintiff

    Saylor, including, but not limited to, one or more of the following acts of

    negligence:

                  (a) Failure to ensure proper signage and adequate passive

                  and/or active warning system(s) at and around the subject

                  railroad crossing;

                  (b) Failure to eliminate the high vertical profile and/or grade

                  of the subject railroad crossing; and


                                       34
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 35 of 41




                    (c) Failure to provide adequate ground clearance.

160. The negligence of the City of Douglas, Georgia is in violation of its duty to

    provide the motoring public and train crews with safe and reasonable

    passage over public roads, including the subject grade railroad crossing

    and surrounding roadway.

161. Defendant City of Douglas knew or should have known of the dangerous

     and/or hazardous conditions of the subject grade railroad crossing and

     surrounding roadway, and the hazard it presented to the motoring public

     and train crews traveling across the subject grade railroad crossing.

162. Prior to February 7, 2022, Defendant City of Douglas did not act

     reasonably in inspecting and/or maintaining the grade railroad crossing

     and surrounding roadway so as to prevent or correct the dangerous and/or

     hazardous condition.

163. As a direct and proximate result of Defendant City of Douglas’ negligence

    as described above, Plaintiff Saylor suffered, and continues to suffer,

    physical injury and pain, psychological injury and mental anguish.

164. As a direct and proximate result of Defendant City of Douglas’ negligence,

    as described above, Plaintiff Saylor incurred medical expenses, and will

    continue to incur future medical expenses, due to the nature and extent of

    his injuries.


                                       35
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 36 of 41




165. As a direct and proximate result of Defendant City of Douglas’ negligence,

    as described above, Plaintiff Saylor has suffered lost wages and benefits

    and will suffer future losses.

166. It was foreseeable that the negligence of Defendant City of Douglas would

    cause a collision resulting in Plaintiff Saylor’s damages and injuries.

167. At all times pertinent hereto, Defendant City of Douglas had of the unsafe

    and/or hazardous condition of the subject grade railroad crossing and

    surrounding roadway.

                    COUNT TWELVE
NEGLIGENCE AND THE FEDERAL EMPLOYERS’ LIABILITY ACT
(FELA) AS TO DEFENDANT CSX TRANSPORTATION, INC. AS TO
              PLAINTIFF STEVEN R. SAYLOR

168. Plaintiffs re-allege and incorporate by reference the allegations above as

    though fully set forth herein.

169. Defendant CSXT has a non-delegable duty to provide Plaintiff Saylor with

    a reasonably safe place to work.

170. Assumption of the risk is not a defense available to Defendant CSXT

    under a claim made by Plaintiff Saylor pursuant to the FELA.

171. The negligence of Defendant CSXT is in violation of its duty to provide

    Plaintiff Saylor with a reasonably safe place to work under the FELA.




                                       36
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 37 of 41




172. Plaintiff Saylor alleges that the act of negligence of the Defendant, which

    caused in whole, or in part, injury to Plaintiff Saylor include, but are not

    limited to, the following:

            (a) Defendant CSXT, its agents and/or employees were negligent

            in failing to ensure the track structure of the railroad crossing

            involved in the subject incident was properly maintained and

            compliant with federal and state regulations; and

            (b) Defendant CSXT, its agents and/or employees were negligent

             in failing to ensure adequate warning(s) and/or safeguard(s) were

             in place at the dangerous or ultrahazardous public crossing

             involved in the subject incident.

173. Defendant CSXT failed to properly coordinate, respond, and notify the

    CSXT train crew, Plaintiffs, in a timely manner of the known hazard, that

    being the tractor-trailer stuck on the subject crossing. The delay was

    unreasonable and inadequate.

174. Plaintiff Saylor’s injuries were caused by the negligence of Defendant

    CSXT, and/or its agents, servants, or employees acting in the course and

    scope of their employment with Defendant CSXT, or by a known defect or

    insufficiency of the workplace.




                                      37
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 38 of 41




175. Plaintiff Saylor’s injuries and damages were caused, in whole, or in part,

    by Defendant CSXT’s failure to use reasonable care to provide Plaintiff

    Saylor with a reasonably safe place to work.

176. Defendant CSXT knew or should have known, of the unsafe condition(s),

    inadequate practice(s), inadequate training, and improper operations as

    indicated in this Count that caused, or contributed to cause, either in whole,

    or in part, Plaintiff Saylor’s injuries and damages.

177. Defendant CSXT failed to comply with the provisions and requirements

     of the FELA, 45 U.S.C. § 51 et seq. Defendant CSXT also failed to

     comply with its own rules and regulations.

178. Defendant CSXT’s violation of the FELA was a legal cause of Plaintiff

     Saylor’s injuries and damages.

179. As a direct and proximate result of Defendant CSXT’s negligence,

     Plaintiff Saylor suffered severe, debilitating and permanent injuries.

180. As a direct and proximate result of Defendant CSXT’s negligence,

     Plaintiff Saylor suffered, and continues to suffer, severe physical injury

     and pain, psychological injury and mental anguish.

181. As a direct and proximate result of Defendant CSXT’s negligence, Plaintiff

    Saylor incurred medical expenses, and will continue to incur future

    medical expenses, due to the nature and extent of their injuries.


                                      38
  Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 39 of 41




182. As a direct and proximate result of Defendant CSXT’s negligence, Plaintiff

    Saylor has suffered lost wages and benefits, and will continue to suffer

    future losses.

150. It is reasonably foreseeable that the negligence and/or statutory violations

    of Defendant CSXT as outlined in this Count would cause Plaintiff

    Saylor’s injuries and damages.

   WHEREFORE, Plaintiff Crosby prays for the following:

   a. Trial by jury;

   b. Judgment in his favor and against Defendants Stan Koch & Sons

      Trucking, Inc., Jill Ann Noland, City of Douglas, Georgia and CSX

      Transportation, Inc., in an amount to be shown by the evidence at the

      time of trial and determined by the enlightened conscious of the jury,

      including, but not limited to, any and all past lost wages and fringe

      benefits, any and all future lost wages and fringe benefits, loss of earning

      capacity, past and future medical bills and expenses, and past and future

      mental and physical pain and suffering in an amount to be shown and

      determined at trial;

   c. All costs of Court to be cast against all Defendants;

   d. All attorney’s fees to be cast against Defendants Stan Koch & Sons

      Trucking, Inc., Jill Ann Noland, and the City of Douglas, Georgia;


                                      39
Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 40 of 41




e. Punitive damages in favor of Todd Crosby based on the evidence

   developed in the course of discovery of this case against Defendants Stan

   Koch & Sons Trucking, Inc., Jill Ann Noland and City of Douglas; and

f. Any and all such other and further relief as this Court deems just and

   equitable.

WHEREFORE, Plaintiff Saylor prays for the following:

a. Trial by jury;

b. Judgment in his favor and against Defendants Stan Koch & Sons

   Trucking, Inc., Jill Ann Noland, City of Douglas, Georgia and CSX

   Transportation, Inc., in an amount to be shown by the evidence at the

   time of trial and determined by the enlightened conscious of the jury,

   including, but not limited to, any and all past lost wages and fringe

   benefits, any and all future lost wages and fringe benefits, loss of earning

   capacity, past and future medical bills and expenses, and past and future

   mental and physical pain and suffering in an amount to be shown and

   determined at trial.

c. All costs of Court to be cast against all Defendants;

d. All attorney’s fees to be cast against Defendants Stan Koch & Sons

   Trucking, Inc., Jill Ann Noland, and City of Douglas, Georgia;




                                   40
     Case 1:23-mi-99999-UNA Document 2355 Filed 07/25/23 Page 41 of 41




      e. Punitive damages in favor of Steven Saylor based on the evidence

         developed in the course of discovery of this case against Defendants Stan

         Koch & Sons Trucking, Inc. and Jill Ann Noland; and

      f. Any and all such other and further relief as this Court deems just and

         equitable.

                         DEMAND FOR JURY TRIAL

      Plaintiffs hereby demand a jury trial on all issues.

Respectfully submitted this 25th day of July, 2023.

                          By:    /s/Edward S. Cook
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                                          41
